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2      PERKINS COIE LLP
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3      Portland, OR 97209-4128
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       15005 NW Cornell LLC
6
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       Motschenbacher & Blattner, LLP
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       Facsimile: (503) 417-0528
10
       Counsel for Debtor and Debtor-in-Possession
11     Vahan M. Dinihanian, Jr.

12
                                     UNITED STATES BANKRUPTCY COURT
13
                                           FOR THE DISTRICT OF OREGON
14
       In re                                             Bankruptcy Case Nos.:
15
       15005 NW CORNELL LLC, and                         19-31883-dwh11 (Lead Case)
16
       VAHAN M. DINIHANIAN, JR.                          19-31886-dwh11
17
                              Debtors. 1                 Jointly Administered Under
18                                                       Case No. 19-31883-dwh11

19                                                       SUPPLEMENTAL DECLARATION OF
                                                         PAUL BRENNEKE IN SUPPORT OF
20                                                       DEBTORS’ MOTION TO OBTAIN
                                                         FINANCING
21

22     I, Paul Brenneke, hereby declare the following under penalty of perjury:
23              1.     I reside in Portland, Oregon. I make this supplemental declaration based on personal
24     knowledge and would testify to the same if called to do so.
25
       1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
26     number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871).
                                                                                    PERKINS COIE LLP
PAGE   1-      SUPPLEMENTAL DECLARATION OF PAUL               1120 N.W. Couch Street, 10th Floor
               BRENNEKE IN SUPPORT OF DEBTORS’ MOTION TO          Portland, OR 97209-4128
               OBTAIN FINANCING                                     Phone: 503.727.2000
                                                                     Fax: 503.727.2222
                            Case 19-31883-dwh11 Doc 303 Filed 09/23/20
1             2.      I make this supplemental declaration as an update for the Court and interested parties on

2      modifications to the term sheet that was submitted with my prior declaration and to provide additional

3      facts that may assist the Court in this matter.

4             3.      I am the founder and Executive Chairman of Sortis Holdings, Inc. (“Sortis”), a

5      diversified, financial services company with hundreds of shareholders that is located in Portland,

6      Oregon. Within Sortis, in addition to private equity, distressed entity rescue and Opportunity zone funds

7      is the Sortis Income Fund, a private credit fund capitalized with approximately $60 million of investors’

8      investments. Also within Sortis is SORFI LLC, which is Sortis’ licensed lending entity.

9             4.      Since late 2019, Sortis has been ready willing and able to underwrite and lend the

10     Debtors up to $5.6 million in connection with implementation of its confirmed plan of reorganization.

11     Sortis and the Debtors have amended the term sheet attached to my previous declaration in this matter.

12     Attached hereto as Exhibit A is a clean version of the amended term sheet under which Sortis, is willing

13     to lend to the Debtors. Attached hereto as Exhibit B is a marked version of the amended term sheet.

14            5.      As I stated in my prior declaration, the Sortis Income Fund has more than sufficient

15     liquidity to close the proposed loan. Attached as Exhibit C are recent proof of funds statements from

16     Sortis’ First Citizens Bank checking account, which shows $4.19 million in available funds and a

17     statement from Sortis’ First Republic Bank checking account which shows $6.3 million. Upon request,

18     Sortis will provide updated statements verifying its availability of funds for closing and will provide

19     other evidence necessary and appropriate for the review of the Court and interested parties in the

20     proposed financing.

21            6.      Sortis’ interest in lending to the Debtors is to place a loan on terms that are attractive to

22     the Debtors and attractive to Sortis.

23            7.      Outside of Sortis, I have been a real estate developer for my entire career. I have

24     developed in excess of 1 million square feet of office space, over 2,500 residential lots and in excess of

25     1,000 multi-family units.

26
                                                                                      PERKINS COIE LLP
PAGE   2-   SUPPLEMENTAL DECLARATION OF PAUL               1120 N.W. Couch Street, 10th Floor
            BRENNEKE IN SUPPORT OF DEBTORS’ MOTION TO          Portland, OR 97209-4128
            OBTAIN FINANCING                                     Phone: 503.727.2000
                                                                  Fax: 503.727.2222
                         Case 19-31883-dwh11 Doc 303 Filed 09/23/20
1               8.    Beyond Sortis, my interest in the Debtors is to help facilitate reconciliation among

2      feuding family members and to join them in obtaining entitlements and optimizing the development of

3      the 15005 NW Cornell property. Through Sortis, I would gladly arrange financing for entitlement and

4      development work and, outside of Sortis, I would gladly lead a development project in which all of the

5      interested owners of property at 15005 NW Cornell would be invited to participate on reasonable terms.

6      At this time, lacking a crystal ball, I do not know exactly what entitlements or development density

7      Washington County will eventually approve, so I cannot state whether this development will be of

8      multi-family or single family or mixed, or will be an investment property or a property to 1031 exchange

9      into a different investment property. Likewise, I do not know which litigating family members will be

10     willing to set aside their disagreements to join in what should be a mutually profitable real estate deal.

11     What I do know is that Sortis is willing, able, and eager to fund the Debtors, to fund the entitlement and

12     development of the 15005 Cornell property and to invite all interested family members to join in on fair

13     terms.

14              9.    Finally, Sortis and I are not parties to, or aware of any secret deals with respect to the

15     Debtors or the 15005 NW Cornell Property.

16              I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE AND CORRECT TO

17     THE BEST OF MY KNOWLEDGE AND BELIEF AND UNDERSTAND THAT IT IS MADE FOR

18     USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY OF PERJURY IN THE STATE

19     OF OREGON.

20      DATED: September 23, 2020                         /s/ Paul Brenneke
21                                                        Paul Brenneke, Declarant

22

23

24

25

26
                                                                                     PERKINS COIE LLP
PAGE   3-   SUPPLEMENTAL DECLARATION OF PAUL               1120 N.W. Couch Street, 10th Floor
            BRENNEKE IN SUPPORT OF DEBTORS’ MOTION TO          Portland, OR 97209-4128
            OBTAIN FINANCING                                     Phone: 503.727.2000
                                                                  Fax: 503.727.2222
                         Case 19-31883-dwh11 Doc 303 Filed 09/23/20
  EXHIBIT A




Case 19-31883-dwh11   Doc 303   Filed 09/23/20
Amended Term Sheet Date:             September 22, 2020

15005 NW Cornell, LLC
c/o Vahan M. Dinihanian, Jr.
237 NW Skyline Boulevard
Portland, Oregon 97210

                                Amended Secured Exit Financing
                               Summary of Terms and Conditions


 Lender:                         SORFI, LLC, its successors and/or assigns.

 Borrower:                       15005 NW Cornell, LLC, an Oregon limited liability company, a
                                 Debtor-in-Possession under Chapter 11 of the Bankruptcy Code as
                                 Case Number 19-31833-dwh11.

 Loan Amount:                    $5,600,000

 Collateral:                     All of the Borrower’s rights, title and interest in the real property and
                                 improvements located at 15005 NW Cornell Road, Beaverton,
                                 Washington County, Oregon (“Cornell Property”) and all of the
                                 Limited Guarantor’s rights, title and interest in the real property
                                 located at 237 NW Skyline Road, Portland, Multnomah County,
                                 Oregon (“Skyline Property”)(collectively, the “Collateral”).

 Loan Term/Maturity:             Seven hundred and thirty days (730) days commencing on the date
                                 of funding of the Loan, at which date the Loan shall mature and
                                 become payable in full.

 Extensions:                     Borrower shall have the right to extend the Loan Term for two (2)
                                 additional six (6) month periods (“Extended Loan Term”), subject to
                                 the following:

                                     a) Borrower shall not have been in default, including
                                        applicable cure periods, at any time during the Loan Term
                                        and any Extended Loan Term;
                                     b) There have been no material negative changes in the
                                        Collateral, the Borrower, and the Limited Guarantor;
                                     c) Borrower shall notify Lender in writing not less than thirty
                                        (30) days prior to expiration of the then current Loan Term
                                        of its intent to extend the Loan (the “Extension Notice”);
                                     d) Borrower shall pay an “Extension Fee” equal to 1.00% of
                                        the Loan’s outstanding principal balance concurrent with the
                                        Extension Notice; and
                                     e) Borrower shall replenish any necessary reserves required by
                                        Lender in Lenders sole discretion for the Extended Loan
                                        Term concurrent with the Extension Notice.


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Exhibit A
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Amortization:                Interest Only.

Payments:                    Interest will be payable monthly, in arrears, on the 1st day of each
                             month until the Maturity Date, shall be prorated for any partial
                             months and interest shall be drawn from the Development and
                             Expense Reserve.

                             The Loan Documents shall provide for (a) a late charge of 5.00% of
                             any payment not received by the due date, (b) default interest of
                             24.00% upon and during an Event of Default, (c) the right of Lender
                             to accelerate the Loan without notice or grace periods in the event of
                             a payment default and (d) for additional remedies typical of a
                             transaction of this nature.

Interest Rate:               12.00%

Origination Fee:             Borrower shall pay Lender an Origination Fee equal to 2.00% of the
                             Loan Amount. which shall be due and payable at Closing
                             (“Origination Fee”).

Underwriting Fee:            Borrower shall pay Lender an Underwriting Fee equal to $15,000,
                             which shall be due and payable at Closing (“Underwriting Fee”).

Prepayment:                  During the Loan Term, Borrower will be allowed to prepay the Loan
                             Amount, in full, at any time, provided Lender is repaid all
                             outstanding principal, accrued interest through the date of such
                             repayment, and any and all fees and expenses then due and owing.

Assumption:                  The Loan may not be assumed.

Transfer Provisions:         The Borrower may not transfer, pledge, assign, hypothecate or
                             encumber, in part or whole, any direct or indirect equity interests in
                             the Borrower.

Limited Guarantor:           Vahan M. Dinihanian, Jr., (“Dinihanian”) an individual and Debtor
                             under Chapter 11 of the Bankruptcy Code as Case Number 19-
                             31886-dwh11. The Loan will be non-recourse as to Dinihanian,
                             subject to certain so called “Carve-outs” and his liability is limited
                             to the extent of his interest in the Skyline Property. The loan
                             documents will provide that Dinihanian and the Borrower will be
                             personally liable for losses incurred by Lender as a result of fraud
                             or intentional misrepresentation by Borrower or any guarantor in
                             connection with the Loan; the gross negligence or willful misconduct
                             of Borrower; the breach of any representation, warranty, covenant or
                             indemnification concerning hazardous substances; the removal or
                             disposal of any portion of the Property after the occurrence of a
                             default; the misapplication or conversion by Borrower of any
                             insurance proceeds or any awards in connection with the
                             condemnation of the Properties; and failure by Borrower to pay


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Exhibit A
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                              charges for labor or materials or other charges that can create Liens
                              on any portion of the Properties.

                              The Loan shall be fully recourse to Dinihanian and Borrower in the
                              event that the first full monthly payment of principal and interest is
                              not paid when due; Borrower fails to permit on-site inspections of
                              the Property, fails to provide financial information or fails to
                              maintain its status as a single purpose entity; Borrower fails to obtain
                              Lender’s prior consent to any subordinate financing or other
                              voluntary Lien encumbering the Property; Borrower fails to obtain
                              Lender’s prior consent to any assignment, transfer, or conveyance of
                              the Property; Borrower files a voluntary petition under the
                              Bankruptcy Code or any other Federal or state bankruptcy or
                              insolvency law or Borrower files an answer consenting to or
                              otherwise acquiescing in or joining in any involuntary petition filed
                              against it under the Bankruptcy Code or any other Federal or state
                              bankruptcy or insolvency law.

Security for Loan:            The Loan shall be secured by a first deed of trust or first mortgage
                              and a perfected first security interest in the Collateral, all leases,
                              rents, income and profits therefrom, and all personal property, both
                              tangible and intangible (including replacements, substitutions and
                              after-acquired property) located thereon or used or intended to be
                              used in connection therewith.

Subordinate Financing:        No secondary financing or encumbrance, either secured or
                              unsecured, of any kind shall be permitted during the Loan Term other
                              than trade payables incurred in the Borrower’s normal course of
                              business.

Closing Date:                 The date Borrower and Guarantor obtain the approval of the
                              Bankruptcy Court for the dismissal of their respective Bankruptcy
                              cases.

Development and Expense       Lender shall reserve $1,538,000 of the Loan Amount for funding the
Reserve:                      payment of development costs, including but not limited to insurance
                              premiums, real estate taxes and interest due under the Loan,
                              according to a cost breakdown and schedule approved by Lender at
                              Closing. The Development and Expense Reserve may be broken in
                              to one or more reserves for payment of interest, property taxes,
                              insurance premiums and development and construction costs, and
                              each such reserve shall be used solely for the designated purpose.
                              The Development and Expense Reserve shall not be deemed an
                              advance at Closing and shall be disbursed monthly upon request
                              according to the draw provisions of the Loan Documents.

                              Conditions for disbursement of funds for costs incurred in
                              connection with development and/or construction will include: The
                              Lender receives a draw request no more often than once per month
                              in a form and substance satisfactory to Lender; the Lender receives


                                             Page 3 of 5

Exhibit A
Page 3 of 5          Case 19-31883-dwh11       Doc 303       Filed 09/23/20
                             lien waivers acceptable to the Lender from all persons who supplied
                             labor and/or materials to the Properties; the Lender receives date-
                             down endorsements to its policy of title insurance showing no liens
                             have been recorded against the Properties and no transfers or other
                             instruments have been recorded in violation of the Loan Documents;
                             no stop notice or lien claim or encumbrance has been filed with
                             respect to the Properties; no event of default has occurred and is
                             continuing; all representations and warranties of Borrower set forth
                             in the Loan Documents are true and correct as of the date of
                             Borrower’s request; Borrower provides evidence that all hard and
                             soft construction costs will be paid in full from the then current
                             disbursement; and Lender determines that the Loan is “in balance”
                             as will be more particularly defined in the Loan Documents.

Material Adverse Change:     Lender shall have no obligation to close and fund the Loan if, at any
                             time prior to funding, Lender determines, in its sole judgment, that
                             there shall exist any material adverse circumstances or conditions
                             regarding, or shall have occurred any material adverse change with
                             respect to, the Collateral or its tenants, or the operations, business,
                             assets, liabilities or condition (financial or otherwise) of Borrower,
                             Limited Guarantor or any of their affiliates.

Interest Calculation:        Interest will be calculated on the basis of a 360-day year but charged
                             for the actual days elapsed.

Closing Costs/Legal Fees:    Borrower shall pay at Closing, the out-of-pocket expenses incurred
                             by Lender in connection with the proposed Loan. Expenses shall
                             include, but not be limited to, the fees and expenses that Lender may
                             incur for outside legal counsel, fees of all third parties relating to the
                             due diligence review to be undertaken by Lender and its third party
                             consultants, title insurance, insurance review costs, the costs of
                             reviewing operating statements, the cost of an appraisal,
                             environmental reports, engineering and structural reports, zoning
                             reports, survey updating and certificate, construction review costs
                             and travel costs of Lender’s personnel and recordation costs.

Brokers:                     Borrower represents and warrants to Lender that neither it, nor any
                             affiliate has engaged any broker, agent or finder to procure the
                             proposed Loan contemplated by this Term Sheet or to otherwise
                             finance the Collateral. Borrower hereby agrees to indemnify and
                             hold harmless Lender and its affiliates against any and all loss, cost,
                             damage, liability or expense incurred by Lender or its affiliates
                             arising out of, or in connection with, a breach of the representations
                             and warranties set forth in this paragraph.

Loan Documents:              All loan documents, including without limitation, the promissory
                             note, loan agreement, mortgage, deed of trust or security deed,
                             fixture filing, assignment of leases and rents, pledge and security
                             agreement, UCC financing statements, environmental and building
                             laws indemnity and any other documents required by Lender


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Exhibit A
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                              (collectively, “Loan Documents”), shall be prepared by counsel for
                              Lender and shall be in all respects in form and substance satisfactory
                              to Lender in its sole discretion. The Loan Documents will contain
                              representations, warranties and covenants of Borrower appropriate
                              or customary for similar transactions.

Events of Default:            The Loan Documents will provide that certain acts, omissions or
                              events constitute “Events of Default” including, but not limited to:
                              the failure to pay the Loan in full by the Maturity Date; failure to
                              make any required monthly payment of principal or interest or any
                              other payment required under the Loan Documents when due;
                              failure to perform any other covenant, agreement or obligation to be
                              performed by Borrower under the Loan Documents if such failure is
                              not cured within thirty (30) days after written notice thereof; the
                              occurrence of any default by Borrower with respect to hazardous
                              substances; the occurrence of any transfer of the Properties or
                              interests in the Borrower without Lender’s consent; any
                              representation or warranty made by Borrower or Guarantor proves
                              to be false or misleading in any material respect; The filing of a
                              complaint for receivership or the filing of a voluntary or involuntary
                              petition for bankruptcy or for reorganization with respect to
                              Borrower or any Guarantor; a final judgment, order, or decree for the
                              payment of money is rendered against Borrower or any Guarantor,
                              and Borrower or such Guarantor does not satisfy and pay the same
                              or cause it to be discharged within thirty (30) days from the entry
                              thereof; Borrower fails to maintain any of the insurance coverage
                              required under the Loan Documents; the occurrence of an uninsured
                              casualty with respect to any material portion of the Properties; or the
                              Properties or any part thereof is condemned or taken in any eminent
                              domain or other like proceeding.

Assignability:                This Term Sheet may not be assigned, in whole or in part, by
                              Borrower, by operation of law or otherwise, and is intended for the
                              benefit of the parties hereto and not for the benefit of any third
                              parties.

Governing Law:                This Term Sheet and the Loan Documents shall be governed by, and
                              construed in accordance with, the laws of the State of Oregon,
                              without regard to principles of conflicts of laws.

Conditions Precedent to       Borrower shall grant to Sortis Real Estate, LLC, a right of first
Closing:                      refusal to serve as the listing broker to market and sell the Cornell
                              Property.




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Exhibit A
Page 5 of 5          Case 19-31883-dwh11      Doc 303       Filed 09/23/20
  EXHIBIT B




Case 19-31883-dwh11   Doc 303   Filed 09/23/20
Amended Term Sheet Date:                      August 17September 22, 2020

15005 NW Cornell, LLC
c/o Vahan M. Dinihanian, Jr.
237 NW Skyline Boulevard
Portland, Oregon 97210

                                Amended Secured Exit Financing
                               Summary of Terms and Conditions


 Lender:                         SORFI, LLC, its successors and/or assigns.

 Borrower:                       15005 NW Cornell, LLC, an Oregon limited liability company, a
                                 Debtor-in-Possession under Chapter 11 of the Bankruptcy Code as
                                 Case Number 19-31833-dwh11.

 Loan Amount:                    $5,600,000

 Collateral:                     All of the Borrower’s rights, title and interest in the real property and
                                 improvements located at 15005 NW Cornell Road, Beaverton,
                                 Washington County, Oregon (“Cornell Property”) and all of the
                                 Limited Guarantor’s rights, title and interest in the real property
                                 located at 237 NW Skyline Road, Portland, Multnomah County,
                                 Oregon (“Skyline Property”)(collectively, the “Collateral”).

 Loan Term/Maturity:             Seven hundred and thirty days (730) days commencing on the
                                 Effective Datedate of funding of the Plan or ReorganizationLoan, at
                                 which date the Loan shall mature and become payable in full.

 Extensions:                     Borrower shall have the right to extend the Loan Term for two (2)
                                 additional six (6) month periods (“Extended Loan Term”), subject to
                                 the following:

                                     a) Borrower shall not have been in default, including
                                        applicable cure periods, at any time during the Loan Term
                                        and any Extended Loan Term;
                                     b) There have been no material negative changes in the
                                        Collateral, the Borrower, and the Limited Guarantor;
                                     c) Borrower shall notify Lender in writing not less than thirty
                                        (30) days prior to expiration of the then current Loan Term
                                        of its intent to extend the Loan (the “Extension Notice”);
                                     d) Borrower shall pay an “Extension Fee” equal to 1.00% of
                                        the Loan’s outstanding principal balance concurrent with the
                                        Extension Notice; and
                                     e) Borrower shall replenish any necessary reserves required by
                                        Lender in Lenders sole discretion for the Extended Loan
                                        Term concurrent with the Extension Notice.


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Exhibit B
Page 1 of 5          Case 19-31883-dwh11          Doc 303       Filed 09/23/20
Amortization:                Interest Only.

Payments:                    Interest will be payable monthly, in arrears, on the 1st day of each
                             month until the Maturity Date, shall be prorated for any partial
                             months and interest shall be drawn from the Development and
                             Expense Reserve.

                             The Loan Documents shall provide for (a) a late charge of 5.00% of
                             any payment not received by the due date, (b) default interest of
                             24.00% upon and during an Event of Default, (c) the right of Lender
                             to accelerate the Loan without notice or grace periods in the event of
                             a payment default and (d) for additional remedies typical of a
                             transaction of this nature.

Interest Rate:               12.00%

Origination Fee:             Borrower shall pay Lender an Origination Fee equal to 2.00% of the
                             Loan Amount. which shall be due and payable at Closing
                             (“Origination Fee”).

Underwriting Fee:            Borrower shall pay Lender an OriginationUnderwriting Fee equal to
                             $15,000, which shall be due and payable at Closing (“Underwriting
                             Fee”).

Prepayment:                  During the Loan Term, Borrower will be allowed to prepay the Loan
                             Amount, in full, at any time, provided Lender is repaid all
                             outstanding principal, accrued interest through the date of such
                             repayment, and any and all fees and expenses then due and owing.

Assumption:                  The Loan may not be assumed.

Transfer Provisions:         The Borrower may not transfer, pledge, assign, hypothecate or
                             encumber, in part or whole, any direct or indirect equity interests in
                             the Borrower.

Limited Guarantor:           Vahan M. Dinihanian, Jr., (“Dinihanian”) an individual and Debtor
                             under Chapter 11 of the Bankruptcy Code as Case Number 19-
                             31886-dwh11. The Loan iswill be non-recourse as to Dinihanian,
                             subject to certain so called “Carve-outs” and his liability is limited
                             to the extent of his interest in the Skyline Property. The loan
                             documents will provide that Dinihanian and the Borrower will be
                             personally liable for losses incurred by Lender as a result of fraud
                             or intentional misrepresentation by Borrower or any guarantor in
                             connection with the Loan; the gross negligence or willful misconduct
                             of Borrower; the breach of any representation, warranty, covenant or
                             indemnification concerning hazardous substances; the removal or
                             disposal of any portion of the Property after the occurrence of a
                             default; the misapplication or conversion by Borrower of any
                             insurance proceeds or any awards in connection with the


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Exhibit B
Page 2 of 5         Case 19-31883-dwh11        Doc 303      Filed 09/23/20
                              condemnation of the Properties; and failure by Borrower to pay
                              charges for labor or materials or other charges that can create Liens
                              on any portion of the Properties.

                              The Loan shall be fully recourse to Dinihanian and Borrower in the
                              event that the first full monthly payment of principal and interest is
                              not paid when due; Borrower fails to permit on-site inspections of
                              the Property, fails to provide financial information or fails to
                              maintain its status as a single purpose entity; Borrower fails to obtain
                              Lender’s prior consent to any subordinate financing or other
                              voluntary Lien encumbering the Property; Borrower fails to obtain
                              Lender’s prior consent to any assignment, transfer, or conveyance of
                              the Property; Borrower files a voluntary petition under the
                              Bankruptcy Code or any other Federal or state bankruptcy or
                              insolvency law or Borrower files an answer consenting to or
                              otherwise acquiescing in or joining in any involuntary petition filed
                              against it under the Bankruptcy Code or any other Federal or state
                              bankruptcy or insolvency law.

Security for Loan:            The Loan shall be secured by a first deed of trust or first mortgage
                              and a perfected first security interest in the Collateral, all leases,
                              rents, income and profits therefrom, and all personal property, both
                              tangible and intangible (including replacements, substitutions and
                              after-acquired property) located thereon or used or intended to be
                              used in connection therewith.

Subordinate Financing:        No secondary financing or encumbrance, either secured or
                              unsecured, of any kind shall be permitted during the Loan Term other
                              than trade payables incurred in the Borrower’s normal course of
                              business.

Closing Date:                 Effective Date of the Plan of Reorganization.The date Borrower and
                              Guarantor obtain the approval of the Bankruptcy Court for the
                              dismissal of their respective Bankruptcy cases.

Development and Expense       Lender shall reserve $1,538,000 of the Loan Amount for funding the
Reserve:                      payment of development costs, including but not limited to insurance
                              premiums, real estate taxes and interest due under the Loan,
                              according to a cost breakdown and schedule approved by Lender at
                              Closing. The Development and Expense Reserve may be broken in
                              to one or more reserves for payment of interest, property taxes,
                              insurance premiums and development and construction costs, and
                              each such reserve shall be used solely for the designated purpose.
                              The Development and Expense Reserve shall not be deemed an
                              advance at Closing and shall be disbursed monthly upon request
                              according to the draw provisions of the Loan Documents.

                              Conditions for disbursement of funds for costs incurred in
                              connection with development and/or construction will include: The
                              Lender receives a draw request no more often than once per month


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Exhibit B
Page 3 of 5          Case 19-31883-dwh11       Doc 303       Filed 09/23/20
                             in a form and substance satisfactory to Lender; the Lender receives
                             lien waivers acceptable to the Lender from all persons who supplied
                             labor and/or materials to the Properties; the Lender receives date-
                             down endorsements to its policy of title insurance showing no liens
                             have been recorded against the Properties and no transfers or other
                             instruments have been recorded in violation of the Loan Documents;
                             no stop notice or lien claim or encumbrance has been filed with
                             respect to the Properties; no event of default has occurred and is
                             continuing; all representations and warranties of Borrower set forth
                             in the Loan Documents are true and correct as of the date of
                             Borrower’s request; Borrower provides evidence that all hard and
                             soft construction costs will be paid in full from the then current
                             disbursement; and Lender determines that the Loan is “in balance”
                             as will be more particularly defined in the Loan Documents.

Material Adverse Change:     Lender shall have no obligation to close and fund the Loan if, at any
                             time prior to funding, Lender determines, in its sole judgment, that
                             there shall exist any material adverse circumstances or conditions
                             regarding, or shall have occurred any material adverse change with
                             respect to, the Collateral or its tenants, or the operations, business,
                             assets, liabilities or condition (financial or otherwise) of Borrower,
                             Limited Guarantor or any of their affiliates.

Interest Calculation:        Interest will be calculated on the basis of a 360-day year but charged
                             for the actual days elapsed.

Closing Costs/Legal Fees:    Borrower shall pay at Closing, the out-of-pocket expenses incurred
                             by Lender in connection with the proposed Loan. Expenses shall
                             include, but not be limited to, the fees and expenses that Lender may
                             incur for outside legal counsel, fees of all third parties relating to the
                             due diligence review to be undertaken by Lender and its third party
                             consultants, title insurance, insurance review costs, the costs of
                             reviewing operating statements, the cost of an appraisal,
                             environmental reports, engineering and structural reports, zoning
                             reports, survey updating and certificate, construction review costs
                             and travel costs of Lender’s personnel and recordation costs.

Brokers:                     Borrower represents and warrants to Lender that neither it, nor any
                             affiliate has engaged any broker, agent or finder to procure the
                             proposed Loan contemplated by this Term Sheet or to otherwise
                             finance the Collateral. Borrower hereby agrees to indemnify and
                             hold harmless Lender and its affiliates against any and all loss, cost,
                             damage, liability or expense incurred by Lender or its affiliates
                             arising out of, or in connection with, a breach of the representations
                             and warranties set forth in this paragraph.

Loan Documents:              All loan documents, including without limitation, the promissory
                             note, loan agreement, mortgage, deed of trust or security deed,
                             fixture filing, assignment of leases and rents, pledge and security
                             agreement, UCC financing statements, environmental and building


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Exhibit B
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                              laws indemnity and any other documents required by Lender
                              (collectively, “Loan Documents”), shall be prepared by counsel for
                              Lender and shall be in all respects in form and substance satisfactory
                              to Lender in its sole discretion. The Loan Documents will contain
                              representations, warranties and covenants of Borrower appropriate
                              or customary for similar transactions.

Events of Default:            The Loan Documents will provide that certain acts, omissions or
                              events constitute “Events of Default” including, but not limited to:
                              the failure to pay the Loan in full by the Maturity Date; failure to
                              make any required monthly payment of principal or interest or any
                              other payment required under the Loan Documents when due;
                              failure to perform any other covenant, agreement or obligation to be
                              performed by Borrower under the Loan Documents if such failure is
                              not cured within thirty (30) days after written notice thereof; the
                              occurrence of any default by Borrower with respect to hazardous
                              substances; the occurrence of any transfer of the Properties or
                              interests in the Borrower without Lender’s consent; any
                              representation or warranty made by Borrower or Guarantor proves
                              to be false or misleading in any material respect; The filing of a
                              complaint for receivership or the filing of a voluntary or involuntary
                              petition for bankruptcy or for reorganization with respect to
                              Borrower or any Guarantor; a final judgment, order, or decree for the
                              payment of money is rendered against Borrower or any Guarantor,
                              and Borrower or such Guarantor does not satisfy and pay the same
                              or cause it to be discharged within thirty (30) days from the entry
                              thereof; Borrower fails to maintain any of the insurance coverage
                              required under the Loan Documents; the occurrence of an uninsured
                              casualty with respect to any material portion of the Properties; or the
                              Properties or any part thereof is condemned or taken in any eminent
                              domain or other like proceeding.

Assignability:                This Term Sheet may not be assigned, in whole or in part, by
                              Borrower, by operation of law or otherwise, and is intended for the
                              benefit of the parties hereto and not for the benefit of any third
                              parties.

Governing Law:                This Term Sheet and the Loan Documents shall be governed by, and
                              construed in accordance with, the laws of the State of Oregon,
                              without regard to principles of conflicts of laws.

Conditions Precedent to       Borrower shall grant to Sortis Real Estate, LLC, a right of first
Closing:                      refusal to serve as the listing broker to market and sell the Cornell
                              Property.




                                             Page 5 of 5

Exhibit B
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  EXHIBIT C




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   August 18, 2020


   SORTIS INCOME FUND LLC
   9 SE 3RD AVE STE 100
   PORTLAND, OR 97214­1247


   RE: Confirmation of Account Balance


   Dear SORTIS INCOME FUND LLC,

   Thank you for being a First Republic Bank client and for choosing to bank with us. Below, please find the information
   that you requested about your First Republic bank account(s).


                                                                                                                                          Account
                         Name on the                                      Account                Account                 Date
                                                                                                                                        Balance as of
                          Account                                          Type                  Number                 Opened
                                                                                                                                         08/17/2020
    SORTIS INCOME FUND LLC                                              CHECKING XXXXXXX5871                          11/27/2019         $6,302,531.05


   If you have any questions or if we can help with anything else, please contact me at klevis@firstrepublic.com or (503)
   471­4995.


   It's a privilege to serve you,



   Kay Levis
   Managing Director, Team Lead
   First Republic Bank




    Exhibit C
    Page 1 of 2
          San Francisco • Palo Alto • Los Angeles • Santa Barbara • Newport Beach • San Diego • Portland • Palm Beach • Boston • Greenwich • New York

111 PINE STREET, SAN FRANCISCO, CALIFORNIA 94111 • TEL (415) 392-1400 OR (800) 392-1400 • FAX (415) 392-1413 • FIRSTREPUBLIC.COM
                                        Case 19-31883-dwh11                    Doc 303          Filed 09/23/20                                      Page 1 of 1
Exhibit C
Page 2 of 2


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1                                          CERTIFICATE OF SERVICE

2             The undersigned hereby certifies that on the date set forth below, they caused the foregoing

3      document to be served on the parties listed on the respective attached service list via the CM/ECF filing

4      system.

5

6      Dated: September 23, 2020                   PERKINS COIE LLP
7                                                  By: /s/ Douglas R Pahl
                                                       Douglas R. Pahl, OSB No. 950476
8                                                      DPahl@perkinscoie.com
                                                       PERKINS COIE LLP
9                                                      1120 N.W. Couch Street, Tenth Floor
                                                       Portland, OR 97209-4128
10                                                     Telephone: 503.727.2000
                                                       Facsimile: 503.727.2222
11
                                                  Counsel for Debtor and Debtor-in-Possession
12                                                15005 NW Cornell LLC
13

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26
                                                                                   PERKINS COIE LLP
                                                                              1120 N.W. Couch Street, 10th Floor
PAGE   1-   CERTIFICATE OF SERVICE                                                Portland, OR 97209-4128
                                                                                    Phone: 503.727.2000
                                                                                     Fax: 503.727.2222
                               Case 19-31883-dwh11          Doc 303     Filed 09/23/20
        Served via CM/ECF filing system:
                                                                                    Lillian Logan
Tasha Teherani-Ami                       Stephen Arnot                              c/o Jordan Ramis PC
c/o Eleanor A. DuBay                     U.S. Trustee, Portland                     ATTN: Daniel Steinberg
121 SW Morrison St., Suite 1850          620 SW Main St. #213                       ATTN: Russell D. Garrett
Portland, OR 97204                       Portland, OR 97205                         2 Centerpointe Drive, 6th Floor
                                                                                    Lake Oswego, OR 97035
Cornell Rd LLC                           Alexander LLC                              Christiana LLC
c/o Jordan Ramis PC                      c/o Jordan Ramis PC                        c/o Jordan Ramis PC
ATTN: Daniel Steinberg                   ATTN: Daniel Steinberg                     ATTN: Daniel Steinberg
ATTN: Russell D. Garrett                 ATTN: Russell D. Garrett                   ATTN: Russell D. Garrett
2 Centerpointe Drive, 6th Floor          2 Centerpointe Drive, 6th Floor            2 Centerpointe Drive, 6th Floor
Lake Oswego, OR 97035                    Lake Oswego, OR 97035                      Lake Oswego, OR 97035
Tasha Teherani-Ami, in her capacity as   Columbia State Bank
trustee of the Sonja Dinihanian GST                                                 Sortis Holdings, Inc.
                                         c/o Erich M. Paetsch
Trust DTS 01/01/11                                                                  c/o Joe Field
                                         Park Place, Ste. 200
c/o Bruce H. Orr                                                                    Field Jerger, LLP
Wyse Kaddish LLP                         250 Church St. SE                          621 SW Morrison St., Ste. 510
900 SW 5th Ave., Ste. 2000               Salem, OR 97301                            Portland, OR 97205
Portland, OR 97204




                                                                                      Perkins Coie LLP
                                                                                1120 N.W. Couch Street, 10th Floor
 PAGE   1-     SERVICE LIST                                                         Portland, OR 97209-4128
                                                                                      Phone: 503.727.2000
                                                                                       Fax: 503.727.2222
                                  Case 19-31883-dwh11          Doc 303     Filed 09/23/20
